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                             No. 23-15179

   In the United States Court of Appeals
           for the Ninth Circuit
                    S TATE OF N EBRASKA , ET AL .,
                                  Plaintiffs-Appellants,
                                    v.
                       M ARTIN W ALSH , ET AL .,
                                  Defendants-Appellees.

         On Appeal from the United States District Court
           for the District of Arizona, Phoenix Division
                         No. 2:22-cv-00213
                        Hon. John J. Tuchi

      PLAINTIFFS-APPELLANTS’ OPENING BRIEF


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                             I NTRODUCTION
     Seventy-four years ago, Congress enacted the Federal Property and

Administrative Services Act (the “Procurement Act”) to centralize federal
government procurement in a new agency. Pub. L. No. 81-152, 63 Stat.
377 (1949). The Act gives the President supervisory powers over the pro-

curement system, and until nine years ago, no President thought this
authority included the power to make federal contractors raise their
wages. That changed in 2014 when the Obama Administration cited the
statute in mandating a $10.10 per hour minimum wage for federal con-
tractors that included annual inflation-based increases. Exec. Order No.
13658, 79 Fed. Reg. 9851 (2014).

     Shortly after taking office, President Biden made a 33-percent over-
night increase in this minimum wage, raising it to $15.00. Exec. Order
No. 14026, 86 Fed. Reg. 22835 (2021) (the “Wage Mandate Executive Or-
der”); Increasing the Minimum Wage for Federal Contractors, 86 Fed.
Reg. 67126, 67126 (Nov. 24, 2021). Earlier this year, the minimum wage
jumped another eight percent to $16.20 due to inflation. Minimum Wage

for Federal Contractors Covered by Executive Order 14026, 87 Fed. Reg.
59464 (Sept. 30, 2022). It now exceeds the minimum wage required in
every state. Compare id. with State Minimum Wage Laws, U.S. Depart-

ment of Labor (last accessed June 19, 2023), https://tinyurl.com/3cxjutrn.
     The Procurement Act does not authorize the President to force a
minimum wage on the Government’s contracting partners. This Court
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requires a nexus between Procurement Act policies and economy and ef-
ficiency, Mayes v. Biden, 67 F.4th 921, 940 (9th Cir. 2023), but the federal
contractor minimum wage (“Wage Mandate”) makes contractors less eco-
nomical and efficient. It burdens federal contractors with $1.7 billion in
extra expenses every year. See p. 8, infra. And those expenses are not

offset by efficiency benefits accruing to either contractors or the Govern-
ment. The policy is also invalid under the major questions doctrine. Noth-
ing in the Act signals congressional approval for the Executive to decide
a question of such significance. In addition, the Department of Labor’s
rule implementing the Wage Mandate violated the Administrative Pro-
cedure Act (“APA”). The Department acted arbitrarily and capriciously
and contrary to law in failing to explain its decision, not considering al-
ternatives, and not substantiating its judgment that the policy furthers
economy and efficiency.

        A share of the Wage Mandate’s annual cost will be absorbed by
States, which partner with the Government through contracts. The
States of Nebraska, Idaho, Indiana, and South Carolina (“Plaintiffs”)

sued in the U.S. District Court for the District of Arizona to vindicate
their right to set their own employees’ wages. The district court dismissed
Plaintiffs’ claims and should be reversed. Plaintiffs are entitled to a pre-

liminary injunction enjoining Defendants’ enforcement of the Wage Man-
date.



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                   J URISDICTIONAL S TATEMENT
     The district court had jurisdiction under 28 U.S.C. § 1331. This

Court has jurisdiction under 28 U.S.C. § 1291. The district court entered
final judgment on January 6, 2023. ER-28. Plaintiffs filed a timely notice
of appeal on February 7, 2023. ER-125; see Fed. R. App. P. 4(a)(1).

                   S TATEMENT AS TO A DDENDUM
     As permitted by Ninth Circuit Rule 28-2.7, Plaintiffs set forth per-
tinent statutes and an executive order verbatim and with appropriate
citation in an addendum.

                          I SSUES P RESENTED
The issues presented are:
1.   Whether the Wage Mandate exceeds the Executive’s Procurement
     Act authority.
2.   Whether the Wage Mandate violates the major questions doctrine.
3.   Whether the Department of Labor’s rule implementing the Wage

     Mandate violates the APA.
4.   Whether Plaintiffs are entitled to a preliminary injunction.

                      S TATEMENT OF THE C ASE

I.   Background
     A.    Congress enacted the Procurement Act in 1949 as a response
to inefficiency in federal government contracting. Pub. L. No. 81-152, 63

Stat. 377 (1949); cf. 40 U.S.C. § 101. During World War II, the “lack of
centralized coordination” caused “many agencies [to] enter [into]


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duplicative contracts supplying the same items and creat[ed] a massive
post-war surplus.” Kentucky v. Biden, 23 F.4th 585, 606 (6th Cir. 2022).
A congressional commission studied the problem and concluded the fed-
eral procurement process suffered “from a lack of central direction.” Geor-
gia v. President of the United States, 46 F.4th 1283, 1293 (11th Cir. 2022)

(op. of Grant, J.) (quoting Commission on Organization of the Executive
Branch of the Government, Office of General Services 1 (1949)). The Com-
mission proposed a new agency to coordinate purchasing and other
housekeeping activities to minimize waste. Id. Congress accepted that
recommendation and created the General Services Administration in
passing the Act. Id.
     While centralizing procurement authority in a new agency, the Act
gives the President supervisory responsibility. It provides: “The Presi-
dent may prescribe policies and directives that the President considers

necessary to carry out this subtitle. The policies must be consistent with
this subtitle.” 40 U.S.C. § 121(a). “[T]his subtitle” refers to almost two
hundred code sections in Titles 40 and 41. Georgia, 46 F.4th at 1293. As

is relevant to this dispute, one referenced code section memorializes the
Act’s purpose. It states: “The purpose of this subtitle is to provide the
Federal Government with an economical and efficient system for the fol-

lowing activities: Procuring and supplying property and nonpersonal ser-
vices, and performing related functions including contracting . . . .” 40
U.S.C. § 101.

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     B.    Relying on a connection between the Act’s presidential powers
and purpose sections, President Obama signed an executive order in 2014
directing the Department of Labor to impose a minimum wage on federal
contractors. Exec. Order No. 13658, 79 Fed. Reg. 9851. The order ex-
plained it “s[ought] to increase efficiency and cost savings in the work

performed by parties who contract with the Federal Government by in-
creasing to $10.10 the hourly minimum wage paid by those contractors.”
Id. § 1. The Department of Labor (the “Department”) engaged in notice-
and-comment rulemaking to implement the order. See Establishing a
Minimum Wage for Contractors, 79 Fed. Reg. 60634, 60636 (Oct. 7, 2014).
In response, it received positive comments as well as “submissions . . .
expressing strong opposition to the Executive Order and questioning its
legality and stated purpose.” Id.
     Ultimately, the Department promulgated regulations requiring

federal agencies to insert terms into their contracts obligating contrac-
tors to pay a federal contractor minimum wage. Id. at 60724-25. These
regulations also required agencies to force contractors to make certain

subcontractors pay the same minimum wage. Id. at 60724-25, 60731.
Consistent with the order, the Department set the initial minimum wage
at $10.10 per hour and provided for annual inflation-based increases. Id.

at 60724. The Department estimated its rule would cost federal contrac-
tors $100.2 million in its first year and $501 million per year once fully
implemented in 2019. Id. at 60693.

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     Four years later, President Trump partially reversed course. He is-
sued an executive order exempting certain recreational services provid-
ers from the Obama Administration’s minimum wage. Exec. Order No.
13838, 83 Fed. Reg. 25341 (2018). A final rule issued several months later
implemented that order. Minimum Wage for Contractors; Updating Reg-

ulations to Reflect Executive Order 13838, 83 Fed. Reg. 48537 (Sept. 26,
2018).
     C.       As a candidate for President, Joe Biden promised to raise the
nationwide minimum wage to $15.00. He unveiled the policy the same
day he announced his candidacy and campaigned on the position until
the end. Meredith Newman & Karl Baker, Joe Biden Calls For $15 Min-
imum Wage, Medicare Public Option at First 2020 Campaign Stop, The
News Journal (Apr. 29, 2019), https://tinyurl.com/2mhtm9u7. Days be-
fore the election, Candidate Biden told a Georgia audience: “We’re going

to pass a national $15 an hour minimum wage.” Joe Biden Campaign
Speech Transcript Atlanta, Georgia, Rev (Oct. 27, 2020), https://ti-
nyurl.com/ksvspddc.

     After taking office, delivering on the $15.00 minimum wage prom-
ise became an immediate legislative priority for the White House. The
Raise Wage Act of 2021 was introduced in the U.S. House eight days after

President Biden’s term began. See H.R. 603, 117th Cong. (2021). How-
ever, the effort collapsed about five weeks later when the U.S. Senate
“resoundingly defeated” a $15.00 minimum wage in a bipartisan 58-42

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vote. Alexander Bolton, The Eight Democrats Who Voted ‘No’ on $15 Min-
imum Wage, The Hill (Mar. 5, 2021), https://tinyurl.com/neoog1141.
      Undeterred, President Biden issued an executive order the next
month raising the Obama Administration federal contractor minimum
wage to $15.00. Exec. Order No. 14026, 86 Fed. Reg. 22835. The order

also revoked President Trump’s exemptions. Id. § 6. Similar to the
Obama executive order, President Biden’s order concluded that the policy
“promote[d] economy and efficiency in Federal procurement by increas-
ing the hourly minimum wage paid by the parties that contract with the
Federal Government to $15.00.” Id. § 1. For support, the order added:
“Raising the minimum wage enhances worker productivity and generates
higher-quality work by boosting workers’ health, morale, and effort; re-
ducing absenteeism and turnover; and lowering supervisory and training
costs.” Id.

      Under the Wage Mandate Executive Order, the Department had
final responsibility for deciding the Wage Mandate’s scope. The order
made itself applicable to “contracts and contract-like instruments” “as

defined in regulations” issued by the Department. Id. at § 2(a). The De-
partment’s regulations were required to “include both definitions of rele-
vant terms and, as appropriate, exclusions from the requirements of this

order.” Id. § 4(a). The order expressed a preference for the “definitions,
principles, procedures, remedies, and enforcement processes” in certain
statutes and President Obama’s order but did not mandate their

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incorporation. Id. § 4(c). Highlighting the Department’s authority, the or-
der reiterated that it “shall not apply to . . . any contracts or contract-like
instruments expressly excluded by the regulations issued” by the Depart-
ment. Id. § 8(c).
       The Department of Labor engaged in notice-and-comment rulemak-

ing. 86 Fed. Reg. at 67126. As with the Obama Administration rulemak-
ing, the Department received a mix of comments including multiple com-
ments “expressing strong opposition” to the executive order and “ques-
tioning its legality and stated purpose.” Id. at 67129. In the end, the De-
partment promulgated a rule (the “Wage Mandate Rule”) increasing the
federal contractor minimum wage to $15.00 and providing for annual in-
flation-based increases. Id. at 67227. This increase more than tripled the
policy’s cost for federal contractors relative to the Obama Administration
federal contractor minimum wage. The Department estimated federal

contractors would pay $1.7 billion every year in extra expenses. Id. at
67194. When the Department’s rule took effect on January 30, 2022,
President Biden described it as “a down payment” on his campaign

“pledge” to raise the nationwide minimum wage. Statement by President
Biden on $15 Minimum Wage for Federal Workers and Contractors Going
into    Effect,     The   White    House      (Jan.    28,    2022),    https://ti-

nyurl.com/e3wf8s2f.
       D.   The Wage Mandate strained budgets for federal contractors.
The minimum wage jumped by 33 percent overnight, rising from $11.25

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under Obama Administration rules to $15.00. Cf. Minimum Wage for
Federal Contracts Covered by Executive Order 13658, Notice of Rate
Change in Effect as of January 1, 2022, 86 Fed. Reg. 51683, 51684 (Sept.
16, 2021) (raising wage to $11.25). The Wage Mandate’s effects were es-
pecially pronounced for federal contractors in Nebraska, Idaho, Indiana,

and South Carolina. Nebraska, Idaho, and Indiana all had minimum
wages between $7.25 and $9.00 per hour when the Wage Mandate took
effect. ER-99. South Carolina had no state-specific minimum wage. ER-
99.
      The Wage Mandate affects States in multiple ways including in
their capacities as federal contractors. For example, the Idaho Depart-
ment of Fish and Game enters into cooperative agreements with the fed-
eral Department of Energy and Department of the Interior to improve
salmon and steelhead fisheries. ER-30. Idaho State University contracts

with the federal government to provide research on advanced energy,
cyber security, and security of natural resources, among other things.
ER-85. Both entities were required to raise the wage paid to multiple

employees because of the Wage Mandate. ER-32, ER-85. Because of lim-
its to state government budgets, the Wage Mandate forced the States to
“offset this cost” with funds marked for operating expenses. E.g., ER-35.

States also suffered financial injuries because they received reduced tax
revenue from federal contractors suffering under the Wage Mandate and



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paid unemployment benefits to workers adversely affected by the policy.
ER-10.

II.   Procedural History
      Less than two weeks after the Wage Mandate took effect, the States
of Nebraska, Arizona, Idaho, Indiana, and South Carolina filed a com-

plaint challenging the Wage Mandate in the U.S. District Court for the
District of Arizona. ER-122. Plaintiffs’ six-count complaint alleged that
the Wage Mandate violated the Procurement Act, the APA, the major
questions doctrine, the non-delegation doctrine, and the Spending
Clause. ER-113-21. It named as defendants the President, the Secretary
of Labor, the Acting Administrator of the Department’s Wage & Hour

Division, the Department of Labor, and the Wage & Hour Division. ER-
97.
      In April 2022, Plaintiffs moved for a preliminary injunction seeking
immediate relief from the Wage Mandate’s enforcement. ER-148. Defend-
ants opposed Plaintiffs’ motion and moved to dismiss the complaint or in
the alternative for summary judgment. ER-145. The district court heard
argument on the parties’ motions in July 2022. ER-04, ER-140-41.
      On January 6, 2023, the district court entered an order denying
Plaintiffs’ motion and dismissing the case. ER-27. The district court held
that Plaintiffs had standing both in their capacity as federal contractors
and because of the Wage Mandate’s effect on state tax revenue and un-
employment benefits. ER-10. On the merits, the court held that the Wage

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Mandate did not violate the Procurement Act. ER-10-19. The court con-
cluded that the Wage Mandate’s productivity and morale benefits pro-
vided a sufficient nexus to federal procurement economy and efficiency.
ER-12-14. It did not apply the major questions doctrine because it con-
cluded the Wage Mandate’s economic impact was not large enough. ER-

15-16. The district court also rejected the application of the constitutional
avoidance canon and federalism canon. ER-17.
     After dismissing Plaintiffs’ Procurement Act claims, the district
court held that the APA did not apply to Plaintiffs’ challenge because the
Wage Mandate Rule implemented an order of the President. ER-19-22.
The district court dismissed Plaintiffs’ non-delegation doctrine claim,
concluding the Procurement Act’s economy and efficiency standard sup-
plied a constitutionally adequate “intelligible principle.” ER-22-24. Fi-
nally, the district court dismissed Plaintiffs’ Spending Clause claim by

limiting the application of that doctrine to federal grants to States. ER-
24-26.
     Nebraska, Idaho, Indiana, and South Carolina timely appealed.

ER-124-25. Arizona transitioned in attorneys general in January 2023
and did not appeal.

                      S UMMARY OF THE A RGUMENT
     This Court should reverse the district court’s dismissal of Plaintiffs’
claims and order the court to enter a preliminary injunction. First, De-
fendants lack authority under the Procurement Act to issue the Wage

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Mandate. This Court requires a nexus between Procurement Act policies
and federal procurement economy and efficiency, but Defendants have
not made that showing. See Mayes, 67 F.4th at 940. Raising contractors’
costs makes them less economical and efficient. The Department of Labor
even acknowledged the likelihood that government expenditures would

rise—not fall—because of the policy. The Wage Mandate also goes beyond
Procurement Act authority because it overrides specific federal contrac-
tor minimum wage statutes. In addition, the Wage Mandate’s application
to subcontractors, lessors, licensees, and permittees is unlawful. None of
those entities have a procurement or supplier relationship with the Gov-
ernment.
     Second, the Wage Mandate is invalid under the major questions
doctrine. That doctrine applies to statutes like the Procurement Act that
delegate power to the President. And it applies to the Wage Mandate be-

cause the policy addresses a subject of vast economic and political signif-
icance despite the absence of a statute clearly delegating decisionmaking
authority on that question.

     Third, the Wage Mandate Rule violates the APA. The district court
erred in holding that the APA does not apply to final agency actions im-
plementing executive orders. Indeed, this Court has previously reviewed

agency actions implementing presidential directives. However, even if ex-
ecutive orders could insulate agency rules from APA review, this one did
not. President Biden’s order explicitly vested the Department of Labor

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with discretion to create “exclusions” “as appropriate.” Exec. Order No.
14026, § 4, 86 Fed. Reg. at 22836. At a minimum, the Department’s ex-
ercise of that authority is subject to APA review. On the merits, the Rule
violates the APA because it is arbitrary and capricious and contrary to
law. The Department refused to consider alternatives, failed to provide a

reasoned basis for its judgment, and did not consider the Rule’s impact
on States. Its conclusion that the Rule’s benefits would offset its cost was
incorrect and unsubstantiated. It also was pretext for the Administra-
tion’s end-run around Congress’s rejection of a $15.00 nationwide mini-
mum wage.
      Fourth, Plaintiffs are entitled to a preliminary injunction. In addi-
tion to showing a likelihood of success on the merits, Plaintiffs estab-
lished irreparable harm and demonstrated that the balance of the equi-
ties and public interest favor an injunction. Plaintiffs’ economic injury is

ongoing and cannot be remedied through money damages. This Court
should direct the district court to issue a preliminary injunction.

                         S TANDARD OF R EVIEW
      This Court reviews de novo a district court’s grant of a motion to
dismiss for failure to state a claim, “tak[ing] all allegations of fact as true
and constru[ing] them in the light most favorable to the nonmoving

party.” Sinclair v. City of Seattle, 61 F.4th 674, 678 (9th Cir. 2023). The
denial of a motion for a preliminary injunction is reviewed for abuse of



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discretion with underlying interpretations of law reviewed de novo. Jack-
son v. City & Cnty. of San Francisco, 746 F.3d 953, 958-59 (9th Cir. 2014).
     A preliminary injunction requires a showing that (1) the plaintiff is
likely to prevail on the merits of its substantive claims, (2) the plaintiff
is likely to suffer imminent, irreparable harm absent an injunction, (3)

the balance of equities favors an injunction, and (4) an injunction is in
the public interest. Id. at 958. “An abuse of discretion will be found if the
district court based its decision ‘on an erroneous legal standard or clearly
erroneous finding of fact.’” All. for the Wild Rockies v. Cottrell, 632 F.3d
1127, 1131 (9th Cir. 2011) (quoting Lands Council v. McNair, 537 F.3d
981, 986 (9th Cir. 2008) (en banc)).

                                A RGUMENT

I.   The Wage Mandate Is Likely Ultra Vires.
     This Court has held that “[t]he Procurement Act empowers the
President to ‘prescribe policies and directives that the President consid-
ers necessary to carry out’ the statute’s objective of ‘provid[ing] the Fed-
eral Government with an economical and efficient system’ for ‘[p]rocuring
. . . nonpersonal services, and performing related functions including con-
tracting.’” Mayes, 67 F.4th at 940 (alterations and ellipses in original)
(quoting 40 U.S.C. §§ 101, 121(a)). The Wage Mandate goes beyond this

grant of authority in multiple ways. It lacks the required nexus to econ-
omy and efficiency. It overrides specific statutes requiring the application



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of a different minimum wage to contractors covered by the Wage Man-
date. And it exceeds the Procurement Act by controlling wages paid by
entities that have no procurement or supplier relationship with the fed-
eral government. In addition, the Wage Mandate is invalid for reasons
that this Court rejected in Mayes.

      A.    The Wage Mandate does not promote economy and
            efficiency.
      For the Wage Mandate “to have the force of law, ‘it is necessary to
establish a nexus between [it] and some delegation of the requisite legis-
lative authority by Congress.’” Id. (quoting Chrysler Corp. v. Brown, 441
U.S. 281, 304 (1979)). Mayes did not decide the exact nexus required, but
it cited approvingly standards used in the Fourth and D.C. Circuits. See
id. at 940. “The Fourth Circuit requires a finding that the executive
branch policies are ‘reasonably related to the Procurement Act’s pur-
pose.’” Id. (quoting Liberty Mut. Ins. Co. v. Friedman, 639 F.2d 164, 170
(4th Cir. 1981)). “The D.C. Circuit requires a ‘sufficiently close nexus’ be-
tween [the] order . . . and the statutory goals of economy and efficiency.”

Id. at 940 (quoting UAW-Labor Emp. & Training Corp. v. Chao, 325 F.3d
360, 366 (D.C. Cir. 2003)). To be sure, “‘economy’ and ‘efficiency’ are not
narrow terms,” but this Court still reads the terms to impose a “clear
textual limiting principle.” Id. at 940, 942. “‘[E]conomy’ and ‘efficiency’
. . . encompass those factors like price, quality, suitability, and availabil-
ity of goods or services that are involved in all acquisition decisions.” Id.


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at 940 (quoting Am. Fed’n Lab. Cong. Indus. Orgs. v. Kahn, 618 F.2d 784,
789 (D.C. Cir. 1979)). Actions that “restrain procurement costs” and gen-
erate “likely savings to the Government” satisfy this standard. Kahn, 618
F.2d at 793.
     1.    Under either the “reasonably related” or “sufficiently close”

standards, the Wage Mandate lacks a nexus to economy and efficiency.
Federal contractors do not become more economical or efficient under the
Wage Mandate. The Department of Labor estimates the policy will cost
its contractors $1.7 billion annually. 86 Fed. Reg. at 67194, 67209. Over
the next decade, contractors will spend more than $18 billion on the Wage
Mandate. Id. at 67210. If anything, this total understates the Wage Man-
date’s cost. The Department admits its estimate excludes “spillover costs”
in raised wages for workers already making more than $15.00 per hour.
Id. at 67194. In addition, because the Wage Mandate requires annual

inflation-based increases, its total cost will continue to swell over time.
Id. at 67223. At the beginning of this year, the Department raised the
wage eight percent to $16.20. Minimum Wage for Federal Contractors,

87 Fed. Reg. 59464 (Sept. 30, 2022).
     On the other side of the ledger, the Department claimed benefits in
the form of “improved government services, increased morale and produc-

tivity, reduced turnover, reduced absenteeism, increased equity, and re-
duced poverty and income inequality for Federal contract workers.” 86
Fed. Reg. at 67212. Many of these benefits have nothing to do with

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economy and efficiency. See p. 52-53, infra. Regardless, the asserted ben-
efits do not make up for the Wage Mandate’s substantial costs. The Ex-
ecutive has not made and cannot make that showing. Citing “uncertainty
and data limitations,” the Department admits its failure to “quantify ben-
efits of this rulemaking.” 86 Fed. Reg. 67212. The President’s executive

order also does not substantiate its ipse dixit that the mandate promotes
economy and efficiency. See generally Exec. Order No. 14026, § 1, 86 Fed.
Reg. at 22835. The conclusion that benefits will offset the Wage Man-
date’s $1.7 billion annual cost is both unsupported and unbelievable.
     In addition to failing to improve economy and efficiency for contrac-
tors, the Wage Mandate does not make federal government procurement
more economical or efficient. If the benefits flowing to the Government
from the Wage Mandate (e.g., increases in contractor productivity) ex-
ceeded its cost to the Government, overall procurement costs would fall.

But instead, the Wage Mandate increases government expenses. The De-
partment admits that “Government expenditures may rise” if “contrac-
tors pass along part or all of the increased cost to the government in the

form of higher contract prices.” 86 Fed. Reg. at 67206; id. at 67208 (dis-
cussing “cost pass-throughs to the government”). Adding support for that
concern, the Department notes that the “literature tends to find that min-

imum wages result in increased prices.” Id. at 67206. The Wage Mandate
lacks a nexus to economy and efficiency in federal procurement. If any-
thing, it counters that objective.

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     2.    The district court accepted Defendants’ conclusion that the
Wage Mandate’s benefits offset its costs by comparing the mandate to
other exercises of Procurement Act authority. ER-012, ER-014. However,
none of the policies examined by the district court cost federal contractors
$18 billion every ten years. Those orders required contractors to inform

employees of rights, verify employees’ eligibility to work in the United
States, refrain from race-based discrimination, and use affirmative ac-
tion. ER-012, ER-014. Kahn, also cited by the district court, involved the
Wage Mandate’s opposite. The Kahn order set a ceiling—not a floor—on
“noninflationary price increases” and workers’ “noninflationary wage in-
creases.” 618 F.2d at 786. While the court noted that some low bidders
might not receive contracts as a result, Kahn concluded that “the direct
and immediate effect” of price ceilings would “hold[] down the Govern-
ment’s procurement costs.” Id. at 792. “[T]he Government will face lower

costs in the future than it would have otherwise.” Id. at 793. The Depart-
ment cannot reach the same conclusion on the Wage Mandate.
     The Biden Administration’s federal contractor minimum wage has

no analogue. The Wage Mandate more than triples federal contractors’
annual costs relative to the contractor minimum wage set by the Obama
Administration. Compare 86 Fed. Reg. at 67194 ($1.7 billion annual cost),

with 79 Fed. Reg. at 60693 (estimating $100.2 million in annual transfer
payments in 2015 and $501 million in annual transfer payments when
fully implemented in 2019). The Trump Administration’s curtailment of

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the minimum wage also does not provide support. In revoking the mini-
mum wage for certain recreational services providers, the Trump Admin-
istration recognized that removing the minimum wage “translates into
. . . more affordable guided tours and recreational services.” 83 Fed. Reg.
at 48540. “Lowering the cost of business . . . could incentivize small out-

fitters to enter the market.” Id. “Likewise, it could also incentivize exist-
ing outfitters to hire more guides and to increase the hours of current
employees.” Id. The Biden Administration’s substantial increase to the
minimum wage is at odds with this reasoning.
     The district court also erred in blindly accepting the Executive’s
economy and efficiency analysis. If courts must accept the Executive’s
conclusion that the Wage Mandate will raise employee productivity and
morale enough to offset billions of dollars in costs, the President could
impose any number of expensive requirements on contractors. Manda-

tory paid leave, healthcare benefits, pension plans, and tuition reim-
bursement all might raise morale or otherwise indirectly benefit the Gov-
ernment. Cf. Louisiana v. Biden, 55 F.4th 1017, 1031-32 (5th Cir. 2022)

(explaining that under the Government’s interpretation, the President
would be able to require contractors to “certify that their employees take
daily vitamins, live in smoke-free homes, [and] exercise three times a

week”). Could the Biden Administration make another 33-percent over-
night increase to the minimum wage? Such questions are unanswerable
under the district court’s uncritical treatment of the Wage Mandate.

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     3.    Mayes’s determination that a COVID-19 vaccine mandate
promotes economy and efficiency also does not support the federal con-
tractor minimum wage. See 67 F.4th at 940. Unlike the Wage Mandate,
the vaccine mandate imposed de minimis pecuniary costs on federal con-
tractors. The Biden Administration concluded: “Because vaccines are

widely available for free, the cost of implementing a vaccine mandate is
largely limited to administrative costs associated with distributing infor-
mation about the mandate and tracking employees’ vaccination status.”
Determination of the Acting OMB Director Regarding the Revised Safer
Federal Workforce Task Force Guidance for Federal Contractors and the
Revised Economy & Efficiency Analysis, 86 Fed. Reg. 63418, 63422 (Nov.
16, 2021). Accordingly, this Court could find that the vaccine mandate
would “save labor costs on net” by comparing the benefit of “decrease[d]
worker absence” to the mandate’s virtually non-existent monetary costs

to contractors. Mayes, 67 F.4th at 940. By contrast, the Wage Mandate
imposes substantial financial costs—measured in the billions—that fed-
eral contractors will pay in perpetuity. The Wage Mandate does not pro-

mote economy and efficiency for federal contractors or the federal pro-
curement system.

     B.    The Procurement Act does not authorize the Presi-
           dent to override state minimum wage laws.
     Even if the Wage Mandate had the required nexus to economy and
efficiency, the Executive cannot use the Procurement Act’s highly


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generalized authority to override specific statutes governing federal con-
tractor minimum wages. “[R]elated statutes should be construed as if
they were one law.” California v. Trump, 963 F.3d 926, 947 n.15 (9th Cir.
2020) (quotation marks omitted); see also Antonin Scalia & Bryan Gar-
ner, Reading Law: The Interpretation of Legal Texts 252 (2012). “[I]t is a

commonplace of statutory construction that the specific governs the gen-
eral. That is particularly true where . . . Congress has enacted a compre-
hensive scheme and has deliberately targeted specific problems with spe-
cific solutions.” RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566
U.S. 639, 645 (2012) (alteration in original) (citations and quotation
marks omitted); see also Crawford Fitting Co. v. J.T. Gibbons, Inc., 482
U.S. 437, 445 (1987). In addition, “[w]hen a statute limits a thing to be
done in a particular mode, it includes the negative of any other mode.”
National R.R. Pass. Corp. v. Nat’l Ass’n of R.R. Pass., 414 U.S. 453, 458

(1974) (quotation marks omitted).
     Congress has specifically determined in three statutes what mini-
mum wage the federal government should require its contractors to pay.

The Davis-Bacon Act, Walsh-Healey Public Contracts Act, and
McNamara-O’Hara Service Contract Act speak comprehensively1 and



     1 When Congress passed the Service Contract Act it did so because

“[t]he service contract is the only remaining category of Federal contracts
to which no labor standards protection applies.” S. Rep. No. 89-798 at 1
(1965).

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directly to the same problem addressed by the Wage Mandate. All three
statutes require payment of a local “prevailing” wage, not a fixed nation-
wide rate. See 40 U.S.C. § 3142(b); 41 U.S.C. §§ 6502(1), 6703(1). Each
has its own regulatory scheme, provides for exceptions, and is designed
for a particular context. Defendants’ reading of the Procurement Act

wrongly presumes a congressional intention to authorize the Executive
to nullify and override these three statutes.
     The district court concluded the Wage Mandate did not “conflict”
with these statutes because they “set floors for the wages of contractors’
employees,” not “‘unambiguous commands’ that wages cannot be higher
than those wages prevailing locally.” ER-017. First, the Wage Mandate
and these statutes do conflict. Both speak to what minimum wage the
Government will require its contractors to pay, and they require different
standards. Locally prevailing wages control under the statutes. See 40

U.S.C. § 3142(b); 41 U.S.C. §§ 6502(1); 6703(1). Congress recognized that
federal contractors in Omaha should not be required to pay New York’s
minimum wage. Cf. S. Packaging & Storage Co. v. United States, 618

F.2d 1088, 1092 (4th Cir. 1980) (holding that, when calculating the pre-
vailing wage for purposes of the Service Contract Act, “the locality in
which wage determinations should be made is where the work is to be

performed”). But the Wage Mandate implicitly rejects Congress’s judg-
ment, substituting locally prevailing wages with a one-size-fits-all



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nationwide floor that presently exceeds every state’s minimum wage. See
p. 1, supra.
     Second, it is not enough that federal contractors can comply with
both these statutes and the Wage Mandate. Of course, nothing prevents
employers from paying wages above the statutory floor, and many do.

Instead, these three statutes bear on the Procurement Act’s meaning be-
cause they make it “implausible” that the Act authorizes the Executive
“to create an alternative to the explicit and detailed . . . scheme” Congress
provided. New Mexico v. Dep’t of Interior, 854 F.3d 1207, 1226 (10th Cir.
2017). “Had Congress intended to give such power to the [President], . . .
it would have done so in a clear manner; instead, it undertook to balance
those interests itself.” Id. Congress’s choice to answer the question of fed-
eral contractor minimum wages through specific statutes defeats Defend-
ants’ contention that Congress also intended to authorize the Executive

to set a different floor for a federal contractor minimum wage.2




     2 This is especially true because Congress enacted the Service Con-

tract Act in 1965, sixteen years after it passed the Procurement Act. See
FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 143 (2000)
(“[T]he implications of a statute may be altered by the implications of a
later statute. This is particularly so where the scope of the earlier statute
is broad but the subsequent statutes more specifically address the topic
at hand.” (citation and quotation marks omitted)).

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     C.    The Procurement Act does not apply to subcontrac-
           tors, lessors, licensees, and permittees.
     The district court also erred in allowing the Executive to apply the
Wage Mandate to entities that have no procurement or supplier relation-
ship with the federal government. Under Mayes, the Procurement Act
authorizes policies that “provide the Federal Government with an eco-
nomical and efficient system for . . . [p]rocuring and supplying property
and nonpersonal services, and . . . contracting.” 67 F.4th at 926 (altera-

tions in original) (quoting 40 U.S.C. § 101(1)). “The statute was designed
to” improve “the public procurement process.” Kahn, 618 F.2d at 787. It
does not authorize the Government to go outside that context and regu-
late minimum wages paid by federal government subcontractors, lessors,
licensees, and permittees.
     1.    The Wage Mandate exceeds the Procurement Act’s authority
by covering subcontractors. See 29 C.F.R. § 23.20; see also 86 Fed. Reg.
at 22835 (directing that the Wage Mandate “shall” be incorporated into
covered “subcontracts”). The Act applies to “[p]rocuring and supplying”
for “the Federal Government,” 40 U.S.C. § 101(1), but subcontractors do
not have a procurement or supplier relationship with the Government.
The exercise of federal control over wages paid by contractors’ agents is

not “consistent with” the Act or “necessary to carry [it] out.” 40 U.S.C.
§ 121(a). Moreover, the connection between wages paid by subcontractors
and procurement economy and efficiency is too attenuated.



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     Affirming the district court would create a split with the Fourth
Circuit, which rejected the Executive’s attempted application of affirma-
tive action requirements to subcontractors through the Procurement Act.
Liberty Mutual, 639 F.2d at 171. The Liberty Mutual plaintiff, an insurer
for a federal contractor, “[was] not itself a federal contractor and there

[was], therefore, no direct connection to federal procurement.” Id. The in-
direct “connection” argued also was “simply too attenuated . . . to find the
requisite connection” to procurement. Id. Defendants appear to believe
that raising wages for subcontractors’ employees will set off a chain reac-
tion ultimately making government procurement more economical and
efficient. Under this theory, higher wages boost subcontractors’ employ-
ees’ productivity and morale, which improves the performance of subcon-
tracts, which improves the performance of contracts, which benefits the
Government in the end. Whatever diluted benefit reaches the Govern-

ment is “simply too attenuated” to justify the cost that the Wage Mandate
imposes on subcontractors. Id. 3




     3 The Wage Mandate limits it application to a subcontractors’ em-

ployees who spend at least 20 percent of their time working “in connec-
tion with” a covered contract. ER-018 (citing 29 C.F.R. §§ 23.40(f),
23.220(a)). However, that difference in degree from the insurance com-
pany subcontractor in Liberty Mutual does not establish a procurement
or supplier relationship with the federal government. Nor does it explain
whether the Government will receive a sufficient benefit in the end that
offsets its substantial imposition on subcontractors.

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     The district court also worried that failing to apply the Wage Man-
date to subcontractors could create a loophole for government contractors
to evade the Wage Mandate. ER-018. That concern does not permit a
court to rewrite the Procurement Act to cover entities lacking a procure-
ment or supplier relationship with the federal government. But even if

Procurement Act policies could govern subcontractors evading the Wage
Mandate, the Wage Mandate does not tailor its subcontract definition to
this concern. The Government’s logic has no limiting principle and, if ac-
cepted, could bring wide swaths of the United States economy under the
Executive’s control. Nothing in the Government’s reasoning requires it to
stop with federal contractors’ suppliers or explains why the entities with
which subcontractors deal also could not be included in future Procure-
ment Act policies.
     2.    The Wage Mandate also goes beyond the Procurement Act by

covering the federal government’s lessors, licensees, and permittees. The
Wage Mandate applies to “any . . . type of agreement,” including “lease
agreements, cooperative agreements, provider agreements, intergovern-

mental service agreements, service agreements, licenses, permits,” “con-
tract[s] for concessions,” and contracts “entered into with the Federal
Government in connection with Federal property or lands and related to

offering services.” 29 C.F.R. §§ 23.20, 23.30(a)(1). The federal govern-
ment’s lessors, licensees, and permittees do not have a procurement or
supplier relationship with the federal government. The only thing they

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supply the Government with is a check, and that link is not enough to
subject them to the Wage Mandate.
        The district court disagreed because the Procurement Act’s purpose
includes “supplying property and nonpersonal services” and the Govern-
ment’s lessors, licensees, and permittees supply such things. ER-018

(quoting 40 U.S.C. §§ 101, 121(a)) (emphasis omitted). However, the Act’s
“purpose . . . is to provide the Federal Government with an economical
and efficient system for . . . supplying property and nonpersonal ser-
vices.” 40 U.S.C. § 101(1) (emphasis added). These entities do not provide
their goods and services to the federal government. They use their gov-
ernment leases, licenses, and permits to provide goods and services to
their customers. Those transactions have no relevance to the Procure-
ment Act. “An activity does not become a program or activity of a public
entity merely because it is licensed by the public entity.” Noel v. N.Y.C.

Taxi & Limousine Comm’n, 687 F.3d 63, 70 (2d Cir. 2012) (quotation
marks omitted). At a minimum, this Court should hold that the Wage
Mandate does not apply to subcontractors, lessors, licensees, and permit-

tees.




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     D.    The Wage Mandate is invalid for additional reasons
           rejected in Mayes.
     The Wage Mandate exceeds the Executive’s Procurement Act au-
thority in other ways that are inconsistent with Mayes.4 The Procure-
ment Act’s purpose section does not expand the President’s powers under

the Act. Even if it did, the Act would limit his power to regulating the
government’s procurement system—not individual contractors’ conduct.
Finally, the avoidance canon and federalism canon apply to the Act and
provide an additional reason that the Wage Mandate is ultra vires.
     1.    The Procurement Act does not authorize the President to
make policies that he concludes will generally promote economy and effi-

ciency in federal procurement. The Act provides that “[t]he President
may prescribe policies and directives that the President considers neces-
sary to carry out this subtitle,” i.e., the Procurement Act. 40 U.S.C.
§ 121(a). And the Act states its “purpose . . . is to provide the Federal
Government with an economical and efficient system for” federal procure-
ment. Id. § 101(1). But the district court erred in linking the two and pre-
suming that the President “carr[ies] out [the Procurement Act]” by mak-
ing a directive that he deems consistent with the statute’s purpose. Id.
§ 121(a); ER-011 (declining to follow Georgia, 46 F.4th at 1293-1301).


     4 For the avoidance of doubt, Plaintiffs recognize that Mayes binds

panels of this Court. See United States v. Easterday, 564 F.3d 1004, 1010
(9th Cir. 2009). Plaintiffs reserve the right to argue that Mayes should be
overruled for the reasons provided in this subpart and Part II.

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     Properly understood, the Procurement Act “empowers the Presi-
dent to issue directives necessary to effectuate the [Procurement] Act’s
substantive provisions, not its statement of purpose.” Kentucky v. Biden,
57 F.4th 545, 552 (6th Cir. 2023); see also Kentucky, 23 F.4th at 604;
Georgia, 46 F.4th at 1298 (op. of Grant, J.). He can make policies instruct-

ing how the “lengthy” statutes setting out procurement-related authority
for the General Services Administration, its administrator, and other
agencies and officials are carried out. Georgia, 46 F.4th at 1293 (op. of
Grant, J.). However, he does not have “free-wheeling authority to issue
any order he wishes relating to the federal government’s procurement
system.” Id.
     Section 101 reflects Congress’s overall purpose for the Act. “A stat-
utory statement of purpose provides no legal authority.” Kentucky, 57
F.4th at 551; District of Columbia v. Heller, 554 U.S. 570, 578 (2008) (“[A]

prefatory clause does not limit or expand the scope of the operative
clause.”). “A preamble no doubt contributes to the general understanding
of a statute, but it is not an operative part of the statute and it does not

enlarge or confer powers . . . .” Ass’n of Am. Railroads v. Costle, 562 F.2d
1310, 1316 (D.C. Cir. 1977). Accordingly, the Executive cannot claim au-
thority for the Wage Mandate based on its asserted purpose of “bol-

ster[ing] economy and efficiency in Federal procurement.” 86 Fed. Reg.
at 67126 (quoting Exec. Order No. 14026, § 1, 86 Fed. Reg. at 22835)).



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     2.    Even if the Act’s purpose did expand the President’s Procure-
ment Act power, his authority would only apply to policies for the pro-
curement “system.” 40 U.S.C. § 101(1). The Act’s “purpose . . . is to pro-
vide the Federal Government with an economical and efficient system for
. . . [p]rocuring and supplying property and nonpersonal services.” Id.

(emphasis added). “‘System,’ in context, refers to ‘[a] formal scheme or
method of governing organization, arrangement.’” Kentucky, 23 F.4th at
604 (alterations in original) (quoting System, Webster’s New Interna-
tional Dictionary 2562 (2d ed. 1959)). “And ‘procure’ means ‘[t]o bring into
possession; to acquire; gain; get; to obtain by any means, as by purchase
or loan.’” Id. (alterations in original) (quoting Procure, Webster’s New In-
ternational Dictionary 1974 (2d ed. 1959)). The President may have au-
thority to improve the “method of contracting,” but nothing in the statute
suggests he can try to improve the economy and efficiency of federal con-

tractors or their employees. Id. But see Mayes, 67 F.4th at 941.
     This interpretation better aligns the statute with Congress’s intent.
The Act was the product of a federal commission aiming to improve the

procurement process after World War II left the Government with a siz-
able surplus of property. See Georgia, 46 F.4th at 1293 (op. of Grant, J.);
Kentucky, 23 F.4th at 606. That surplus was believed to be the product of

a “wartime procurement free-for-all” that permitted “many agencies [to]
enter [into] duplicative contracts supplying the same items.” Kentucky,
23 F.4th at 606 (quotation marks omitted). In passing the Act, it was

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Congress’s intent to “integrate[] and centraliz[e] procurement responsi-
bility,” id., and to “coordinate purchasing . . . [in order to] avoid waste,”
Georgia, 46 F.4th at 1293 (op. of Grant, J.) (quotation marks omitted).
     “[N]o one seems to have envisioned the [Procurement] Act as a la-
tent well of authority to order the . . . enhancement of contractor employ-

ees to make them more ‘economical and efficient.’” Kentucky, 23 F.4th at
606. The Procurement Act ends with the procurement process. It does not
license the President to insert the federal government into contractors’
decisions about how they run their businesses. Thus, the Wage Mandate
is ultra vires because it aims to up federal contractors’ performance
through improved morale and increased productivity. It does not regulate
the federal government’s “system” of procurement.
     3.    This Court also must read the Procurement Act narrowly un-
der the avoidance and federalism canons of interpretation.

     The avoidance canon favors an interpretation of the Act that averts
non-delegation problems. “[W]here an otherwise acceptable construction
of a statute would raise serious constitutional problems, the Court will

construe the statute to avoid such problems unless such construction is
plainly contrary to the intent of Congress.” Edward J. DeBartolo Corp. v.
Fla. Gulf Coast Bldg. & Const. Trades Council, 485 U.S. 568, 575 (1988).

Under the non-delegation doctrine, a constitutional problem arises if
Congress has “abdicate[d] or transferr[ed] to others the essential legisla-
tive functions with which it is thus vested.” A.L.A. Schechter Poultry

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Corp. v. United States, 295 U.S. 497, 529 (1935). The Procurement Act
would violate the Constitution if it authorized the President to regulate
one fifth of the United States workforce on nothing more than a determi-
nation his policy promotes economy and efficiency. See Kahn, 618 F.2d at
811 (MacKinnon, J., dissenting). Mayes and the district court’s expansive

interpretation of Section 101’s economy and efficiency standard read out
of the statute the “clear intelligible principle” that the non-delegation
doctrine requires. 67 F.4th at 943; ER-22-24.
     The federalism canon applies because the Wage Mandate regulates
minimum wages, traditionally a subject for state legislatures, and lacks
a clear statement. “‘[I]t is incumbent upon the federal courts to be certain
of Congress’ intent before finding that federal law overrides’ the ‘usual
constitutional balance of federal and state powers.’” Bond v. United
States, 572 U.S. 844, 858 (2014) (quoting Gregory v. Ashcroft, 501 U.S.

452, 460 (1991)). When Congress has acted on minimum wages, it has
protected States’ role by making local “prevailing” wages control. 40
U.S.C. § 3142(b); 41 U.S.C. §§ 6502(1); 6703(1); see also pp. 21-23, supra.

Or it has acted unambiguously as in the Fair Labor Standards Act, which
uses explicit terms to set a nationwide $7.25 minimum wage floor. 29
U.S.C. § 206(a)(1)(C). 5 But by forcing a minimum wage on contractors




     5The Act also explicitly protects States’ power to set minimum
wages higher than this floor. 29 U.S.C. § 218(a). Most States do so. State

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that exceeds every state’s minimum wage, the Wage Mandate wipes out
state authority in this context. The Procurement Act lacks the specificity
required to overcome the presumption that Congress favors the protec-
tion of state power in setting minimum wages. This Court should apply
the avoidance and federalism canons to the Procurement Act and hold

that the Wage Mandate is ultra vires.

II.   The Wage Mandate Likely Violates The Major Questions
      Doctrine.
      The major questions doctrine precludes the Executive’s assertion of
authority to set a nationwide minimum wage for federal contractors. The
doctrine “expect[s] Congress to speak clearly” in statutes authorizing the
Executive to “exercise powers of vast economic and political significance.”
Nat’l Fed’n of Indep. Bus. v. OSHA, 142 S. Ct. 661, 665 (2022) (“NFIB”)
(quoting Ala. Ass’n of Realtors v. DHHS, 141 S. Ct. 2485, 2489 (2021)).
The analysis focuses on the “‘nature of the question presented’—whether
Congress in fact meant to confer the power the agency has asserted.” West
Virginia v. EPA, 142 S. Ct. 2587, 2608 (2022) (quoting Brown & William-

son, 529 U.S. at 159). Courts “presume that ‘Congress intends to make
major policy decisions itself, not leave those decisions to agencies.’” Id. at
2609 (quoting U.S. Telecom Ass’n v. FCC, 855 F.3d 381, 419 (D.C. Cir.
2017) (Kavanaugh, J., dissenting)).


Minimum Wage Laws, U.S. Department of Labor (last accessed June 19,
2023), https://tinyurl.com/3cxjutrn.

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     The doctrine applies to statutes like the Procurement Act that del-
egate power to the President. Plaintiffs respectfully submit that Mayes
erred in its contrary holding. The Wage Mandate implicates the major
questions doctrine because the minimum wage paid by federal contrac-
tors is a question of “vast economic and political significance.” NFIB, 142

S. Ct. at 665. But see Mayes, 67 F.4th at 935-36. The policy is invalid
under the doctrine since the Procurement Act’s vague delegation of power
does not clearly state a congressional intention to allow the Executive to
set a federal contractor minimum wage.

     A.    The major questions doctrine applies to the Pro-
           curement Act.
     Mayes wrongly held that the major questions doctrine does not ap-
ply to statutes like the Procurement Act that delegate power to the Pres-
ident. 67 F.4th at 932-34. In doing so, Mayes admittedly split from the
Fifth, Sixth, and Eleventh Circuits, all of which have applied the doctrine
to the Procurement Act. See 67 F.4th at 933-34 (discussing Louisiana, 55
F.4th at 1031 n.40; Georgia, 46 F.4th at 1295-97; Kentucky, 23 F.4th at
606-08). Because “Article II of the Constitution ‘makes a single President
responsible for the actions of the Executive Branch’ delegations to the
President and delegations to an agency should be treated the same under

the major questions doctrine.” Louisiana, 55 F.4th at 1031 n.40 (citations
omitted) (quoting Selia Law LLC v. Consumer Fin. Prot. Bureau, 140 S.




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Ct. 2183, 2203 (2020)). This Court should join its sister circuits in apply-
ing the doctrine to the Procurement Act.
     Mayes’s distinction between delegations to the President and agen-
cies misapprehends the major questions doctrine. Mayes distinguished
the President based on separation-of-powers cases dealing with congres-

sional restrictions on presidential power. Free Enterprise Fund v. Public
Co. Accounting Oversight Board, 561 U.S. 477, 513-14 (2010), held that
congressional limits on the President’s removal authority were unconsti-
tutional. And Franklin v. Massachusetts, 505 U.S. 788, 800-01 (1992),
held that the APA’s procedural restrictions did not apply to the President.
But the major questions doctrine deals with statutory grants of power to
the Executive Branch—not limitations on the exercise of such power.
West Virginia, Alabama Realtors, and NFIB all reviewed statutes em-
powering the Executive Branch. The Court’s precedents interpreting

statutes restricting the Executive are inapplicable.
     When the major questions doctrine asks whether the Executive’s
decision is “one[] that Congress would likely have intended for itself,” it

makes no difference which Executive Branch officer made the decision.
West Virginia, 142 S. Ct. at 2613. This Court should join the Fifth, Sixth,
and Eleventh Circuits in applying the major questions doctrine to the

Procurement Act.




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     B.    The Wage Mandate is a regulation of vast economic
           and political significance.
     The major questions doctrine applies to regulations of “vast eco-
nomic and political significance.” NFIB, 142 S. Ct. at 665. The Wage Man-
date meets that standard. It requires federal contractors to pay at least
$1.7 billion every year in perpetuity. See pp. 8, 16, supra. Over the next
ten years, it will cost $18 billion. Id. And if anything, these figures un-
derestimate the Wage Mandate’s economic impact because it excludes

spillover costs. Id. The district court agreed that the Wage Mandate “af-
fect[s] a substantial number of workers and firms.” ER-16. Indeed, Pro-
curement Act policies apply to “one-fifth of the American workforce.”
Mayes, 67 F.4th at 935 n.25; see also Louisiana, 55 F.4th at 1028.
     The Wage Mandate also has political salience. President Biden
campaigned on a promise to raise the minimum wage to $15.00. See p. 6,
supra. Congress debated that proposal, voted on it, and declined to make
it the law. Id. Nonetheless, the subject remains a topic of discussion in
Washington. In addition, state legislatures debate the minimum wage.
See, e.g., Nick Niedzwiadek, The Minimum Wage Fight That Will Define
the Decade, POLITICO (Mar. 22, 2023), https://tinyurl.com/4kzchj6a. The
minimum wage is clearly a question of both economic and political signif-

icance.
     The district court disagreed by minimizing the Wage Mandate’s
$1.7 billion in annual costs with a comparison to the Clean Power Plan’s



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cost over two decades and the COVID-19 eviction moratorium’s appropri-
ation. ER-16-17. Unlike the eviction moratorium, the Wage Mandate con-
tinues in perpetuity and increases every year. The district court also
wrongly asserted that this case does not involve “novel regulatory pow-
ers” and that “presidents of both parties have issued” similar orders. ER-

12, ER-15. The Wage Mandate is novel. Washington regulated the mini-
mum wage even before Congress enacted the Procurement Act 74 years
ago. See Fair Labor Standards Act of 1938, Pub. L. No. 75-718, 52 Stat.
1060. But despite the federal government’s longtime role in setting the
minimum wage, no President used the Procurement Act for this purpose
in the statute’s first 65 years. Cf. Mayes, 67 F.4th at 926. Moreover, Pres-
ident Biden’s use of this authority bears little resemblance to the mini-
mum wage imposed by President Obama, which cost less than one third
of the Biden minimum wage. See p. 18, supra.

     It also is no answer that the Wage Mandate deals with “proprietary
authority.” See ER-16; Mayes, 67 F.4th at 935. “[T]he government has a
much freer hand in dealing with citizen employees than it does when it

brings its sovereign power to bear on citizens at large.” NASA v. Nelson,
562 U.S. 134, 148 (2011) (internal quotation marks omitted). But “[t]he
vast scope of its mandate belies” a connection to the Procurement Act.

Louisiana, 55 F.4th at 1032. “There is little internal about a mandate
which encompasses even employees” of firms that have no procurement
or supplier relationship with the Government. Id. The Executive’s

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inherent authority to act as a proprietor does not include a power to set
a nationwide minimum wage. The Wage Mandate is an exercise of regu-
latory authority. Cf. Wis. Dep’t of Indus., Lab. & Hum. Rels. v. Gould Inc.,
475 U.S. 282, 291 (1986).
     The Wage Mandate “is no ‘everyday exercise of federal power.’”

NFIB, 142 S. Ct. at 665 (quoting In re MCP No. 165, 20 F.4th 264, 272
(6th Cir. 2021) (Sutton, J., dissenting)). Because it has vast economic and
political significance, the major questions doctrine applies.

     C.    The Procurement Act lacks a clear statement.
     The power to decide major questions must be delegated through a
clear statement. Congress does not make “[e]xtraordinary grants of reg-
ulatory authority” through “vague terms.” West Virginia, 142 S. Ct. at
2609 (internal quotation marks omitted). Against this standard, Defend-
ants claim to find their authority in the combination of a purpose statute
and a statute giving the President unspecified power. As explained, state-
ments of purpose generally lack legal effect. See pp. 28-29, supra. But
even if this one governed the President’s power to “carry out” the Act, its

“economical and efficient” standard does not clearly authorize presiden-
tial regulation of the minimum wage. 40 U.S.C. §§ 101(1); 121(a). Accord-
ingly, the Wage Mandate violates the major questions doctrine.




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III. The Wage Mandate Rule Violates The Administrative
     Procedure Act.
     The APA requires courts to “hold unlawful and set aside agency ac-
tion . . . found to be arbitrary, capricious, an abuse of discretion, or oth-
erwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The district
court erred in holding that the APA did not apply to Defendants’ imple-
mentation of the Executive Order. A presidential order does not insulate
an agency’s rulemaking from review. The Department violated the APA

because it failed to consider alternatives, relied on improper considera-
tions, and made the erroneous, unsubstantiated, and pretextual judg-
ment that the Wage Mandate Rule promotes economy and efficiency in
federal procurement.

     A.    The APA applies to the Wage Mandate Rule.
     The district court wrongly held that the President’s executive order
protected the Wage Mandate Rule from Plaintiffs’ challenge. ER-19-22.
The Administrative Procedure Act applies to “final agency action.” 5
U.S.C. § 704. Because the President is not an “agency,” the APA does not
apply to the President’s “final . . . action[s].” Franklin, 505 U.S. at 797.

But nothing in the APA prevents review of a “final agency action” that
incorporates or implements presidential action. 5 U.S.C. § 704. The fact
an agency’s “regulations are based on the President’s Executive Order
hardly seems to insulate them from judicial review under the APA, even




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if the validity of the Order were thereby drawn into question.” Chamber
of Commerce of U.S. v. Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996).
     1.    Plaintiffs’ claim fits comfortably under the APA because it
challenges a final rulemaking promulgated by the Department of Labor.
ER-19-22. The Wage Mandate Rule was issued because the President di-

rected the agency “to implement the requirements of [an executive or-
der].” Exec. Order No. 14026, § 4(a), 86 Fed. Reg. at 22836. However, that
direction does not change the APA’s requirements. Hawaii v. Trump ap-
plied the APA to two agencies’ “implementation” of a presidential procla-
mation barring the admission of certain foreign nationals. 878 F.3d 662,
681 (9th Cir. 2017), vacated in part on other grounds by 138 S. Ct. 2392,
2407 (2018) (assuming the reviewability of claims). While noting that
“the President’s actions fall outside the scope of” APA review, this Court
allowed an APA claim to proceed “against the entities charged with car-

rying out [the President’s] instructions.” Id. at 680. “[B]ecause these
agencies [had] ‘consummat[ed]’ their implementation of the Proclama-
tion, from which ‘legal consequences will flow,’ their actions . . . [were]

reviewable under the APA.” Id. at 681 (quoting Bennett v. Spear, 520 U.S.
154, 177-79 (1997)).
     East Bay Sanctuary Covenant v. Trump subjected agency rulemak-

ing “incorporat[ing]” a presidential proclamation to the APA. 932 F.3d
742, 770 (9th Cir. 2018). In that case, the Executive Branch issued a pres-
idential proclamation and agency rule on the same day that joined

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together to deny asylum to certain aliens crossing the southern border.
Id. at 754-55. While noting that the presidential proclamation was not
subject to APA review, this Court held that the APA permitted it to “re-
view the substantive validity of the Rule together with the Proclama-
tion.” Id. at 770. “[I]nsofar as DOJ and DHS have incorporated the Proc-

lamation by reference into the Rule, we may consider the validity of the
agency’s proposed action, including its ‘rule.’” Id. (quoting 5 U.S.C.
§ 551(13)). The D.C. Circuit likewise treats agency actions implementing
presidential orders as reviewable. That court has rejected the argument
that “a challenge to [such a] regulation should be regarded as nothing
more than a challenge to the legality of the President’s Executive Order.”
Reich, 74 F.3d at 1326. Here too, the entirety of the Wage Mandate Rule
is subject to APA review.
     2.    The district court reached a contrary result by relying on case

law holding that presidential actions are not themselves subject to APA
review. ER-20. Franklin v. Massachusetts held that the APA applies to
only “final agency action” and “the President is not an agency.” 505 U.S.

at 796. Under that rule, the President’s post-census reapportionment of
House seats was not subject to APA review. Id. at 800-01. Following
Franklin, Dalton v. Specter similarly concluded that the President’s de-

cision to close military bases was not “agency action” because the Presi-
dent was not an agency. 511 U.S. 462, 468-71 (1994).



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     Neither case bears on Plaintiffs’ claim, which challenges agency ac-
tion following presidential action. See 86 Fed. Reg. at 67126. The “cru-
cial” “fact” in applying Franklin is “that ‘[t]he President, not the [agency],
takes the final action that affects’” the parties. Dalton, 511 U.S. at 470.
“Franklin is limited to those cases in which the President has final con-

stitutional or statutory responsibility for the final step necessary for the
agency action directly to affect the parties.” Pub. Citizen v. U.S. Trade
Representative, 5 F.3d 549, 552 (D.C. Cir. 1993). The Wage Mandate Ex-
ecutive Order is not the final step that gives the Wage Mandate legal
effect. The executive order directs the Department of Labor to make
rules, limits its scope to those rules, and does not make the Wage Man-
date applicable until those rules take effect. See Exec. Order No. 14026,
§§ 1, 2(a), 4, 8(c), 9, 86 Fed. Reg. at 22835-38. The Wage Mandate is sub-
ject to the APA in full.

      3.   The district court also expressed concern that subjecting the
Rule to APA review would place the Department “in the ‘untenable posi-
tion’ of having both to follow the mandatory orders of the President and

to engage in APA-required deliberation about whether to do just the op-
posite.” ER-20. The district court’s concern wrongly presumes a congres-
sional intent to place the President’s Procurement Act judgments beyond

question. Congress required the opposite when it decided to subject every
“procurement policy, regulation, procedure, or form” to public comment
for sixty days. 41 U.S.C. § 1707(a)(1). If Congress wished to insulate

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agency action implementing presidential orders from the APA, it could
have created an exception. It has done so in other contexts. See 5 U.S.C.
§ 701(a). Instead, Congress “establishe[d] a ‘basic presumption of judicial
review [for] one ‘suffering legal wrong because of agency action.’” Dep’t of
Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1905 (2020)

(quoting Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967)).
     If accepted, the district court’s rule would significantly undermine
the APA. It would allow the President to insulate virtually any agency
action from APA review with the stroke of a pen. The district court em-
phasized the Procurement Act’s placement of authority in the President
and not an agency head, but the Constitution gives the President the
power to direct agencies’ discharge of their statutory duties. “Under the
Constitution, the executive Power—all of it—is vested in a President.”
Seila Law, 140 S. Ct. at 2191. “[I]ndividual executive officials[’] . . . au-

thority remains subject to the ongoing supervision and control of the
elected President.” Id. at 2203. Thus, under the district court’s decision,
the President could exempt a rule from the APA by using his constitu-

tional power to direct specific agency action. Nothing in Franklin or Dal-
ton engrafts that loophole onto the APA.
     4.    Agency actions that implement presidential directions are

subject to the APA, but even if they were not, the district court overlooked
the Department’s significant discretion here. The Wage Mandate Execu-
tive Order put the Department in charge of deciding which contractors

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would be subject to the Wage Mandate. No contract is definitively subject
to the Executive Order. The Order states it applies to “contracts and con-
tract-like instruments” “as defined in regulations issued” by the Depart-
ment. Exec. Order No. 14026, § 2(a), 86 Fed. Reg. at 22835. Elsewhere, it
identifies certain “contract[s]” and “contract-like instrument[s]” to which

the order “shall apply,” id. § 8(a), but states that the Order “shall not
apply to . . . any contracts or contract-like instruments expressly ex-
cluded by the regulations issued” by the Department, id. § 8(c). The Or-
der directs the Secretary to make “definitions of relevant terms” while
expressing a preference for definitions in certain federal statutes and in
President Obama’s previous federal contractor minimum wage executive
order. Id. § 4(a), (c). Most importantly, the order empowers the Depart-
ment to create “exclusions from the requirements of [the] order” “as ap-
propriate.” Id. § 4(a).

      By its plain language, the Wage Mandate Executive Order gave the
Department the discretion to exclude any category of contracts from the
Wage Mandate. “‘As is true of interpretation of statutes, the interpreta-

tion of an Executive Order begins with its text,’ which ‘must be construed
consistently with the Order’s ‘object and policy.’” City & Cnty. of San
Francisco v. Trump, 897 F.3d 1225, 1238 (9th Cir. 2018) (quoting Bassidji

v. Goe, 413 F.3d 928, 934 (9th Cir. 2005)). Nothing about the Order’s ob-
ject or policy limit the breadth of the Department’s discretion. The Or-
der’s qualification directing exclusions “as appropriate” “clearly confers

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discretion.” Donahue v. United States, 870 F. Supp. 2d 97, 110 (D.D.C.
2012). “On its face, the Executive Order” authorized the Department to
exclude any contractor from the Wage Mandate. San Francisco, 897 F.3d
at 1239. “It would be incongruous . . . to say it does not mean what it
says.” Id.

      Defendants cannot rely on the President’s unwritten expectations
to narrow the Department’s authority. This “logic impermissibly seeks to
displace the plain meaning of the [executive order] in favor of something
lying beyond it.” Bostock v. Clayton County, 140 S. Ct. 1731, 1750 (2020).
“Judges are not free to overlook plain . . . commands on the strength of
nothing more than suppositions about intentions or guesswork about ex-
pectations.” Bostock, 140 S. Ct. at 1754. A substantial exercise of this
discretion might have disappointed the White House. But the President
gave the Department that power, and the Department would not have

acted ultra vires had it used it differently. At a minimum, the APA ap-
plies to the Department’s use and non-use of its power to create exclu-
sions from the Wage Mandate and to define terms.

      B.     The Wage Mandate Rule violates the APA.
      Under the APA, courts must “hold unlawful and set aside action . . .
found to be arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law.” 5 U.S.C. § 706(2). The Wage Mandate Rule vio-
lates this provision in several respects. The Department wrongly refused
to consider alternatives and failed to provide a reasoned basis for its

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judgment. It did not consider the Rule’s impact on States. And its judg-
ment that the Rule would promote economy and efficiency is both wrong
and pretextual. In addition, given the Department’s general copy and
paste of the Wage Mandate Executive Order’s terms, the legal defects
identified in Part I also constitute APA violations.

     1.    The Department failed to consider any alternatives or mean-
ingful exceptions to the 33-percent overnight minimum wage increase it
imposed on contractors. “As the APA requires that agencies engage in
reasoned decisionmaking, the agency had an obligation to consider its
other obligations and any alternatives, even if it could properly end up
rejecting them.” Nat’l Urb. League v. Ross, 977 F.3d 770, 779 (9th Cir.
2020) (cleaned up). This obligation “is well settled” and includes “a duty
. . . to give a reasoned explanation for its rejection of such alternatives.”
City of Brookings Mun. Tel. Co. v. F.C.C., 822 F.2d 1153, 1169 (D.C. Cir.

1987) (internal quotation marks omitted). The Department admits it did
not consider “modify[ing] the amount of the . . . minimum wage rate,
chang[ing] the effective date for the wage rate, or phas[ing] in the wage

rate over a number of years” despite receiving numerous comments urg-
ing this consideration. 86 Fed. Reg. at 67130. The Department also re-
ceived multiple comments encouraging it to limit the extent to which the

Rule overrides statutes regulating the minimum wage paid to federal
contractors’ employees. The Department explicitly refused to consider
those alternatives too, even though it had explicit authority to create

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exclusions. 86 Fed. Reg. at 67129-30. This “‘artificial narrowing of op-
tions’ is antithetical to reasoned decisionmaking and cannot be upheld.”
Int’l Ladies Garment Workers Union v. Donovan, 722 F.2d 795, 814 (D.C.
Cir. 1983) (quoting Pillai v. Civ. Aeronautics Bd., 485 F.2d 1018, 1027
(D.C. Cir. 1973)).

     In addition to failing to consider alternatives, the Department
failed to provide a reasoned basis for its decision. “When an agency
changes its position, it must (1) display awareness that it is changing
positions, (2) show the new policy is permissible under the statute, (3)
believe the new policy is better, and (4) provide good reasons for the new
policy.” Center for Biological Diversity v. Haaland, 998 F.3d 1061, 1067
(9th Cir. 2021) (cleaned up). The Rule raises the wage to $15.00 from the
$11.25 wage required under then-existing regulations’ inflation adjust-
ment provisions. See pp. 8-9, supra. The Department gave no reasoning

for this increase other than the fact the President issued the Wage Man-
date Executive Order. This too violated the APA.
     The Department’s treatment of the Wage Mandate Rule as partially

exempt from the APA was wrong. The Department claimed it lacked “au-
thority to modify the amount or timing of the minimum wage require-
ment.” 86 Fed. Reg. at 67130. It said it “[did] not have the discretion to

implement alternatives” or “to deviate from the explicit terms of the Ex-
ecutive Order.” 86 Fed. Reg. at 67180, 67216. First, executive orders do
not create exceptions to the APA. See pp. 40-43, supra. President Biden

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ordered an agency to engage in rulemaking, and nothing in the APA per-
mits an agency to ignore its APA obligations just because the agency acts
under an executive order. An agency is a “‘creature of statute,’ having ‘no
constitutional or common law existence or authority.’” Atl. City Elec. Co.
v. FERC, 295 F.3d 1, 8 (D.C. Cir. 2002) (quoting Michigan v. EPA, 268

F.3d 1075, 1081 (D.C. Cir. 2001)). Congress has decided their rulemaking
must obey certain procedural requirements and made no exception for
directions conveyed via executive order. The Third Circuit has held that
an executive order directing the EPA to “suspend or postpone the effec-
tive dates” of certain rules did not allow that agency to ignore the APA’s
requirements by stating its “action was ‘taken pursuant to Executive Or-
der.’” Natural Resources Defense Council, Inc. v. U.S. E.P.A., 683 F.2d
752, 755-56, 765-67 (3d Cir. 1982). This Court should hold that the Wage
Mandate Rule violated the APA by relying on the Executive Order to re-

fuse to consider alternatives or explain its decision.
     Second, even if executive orders could override the APA, this one
did not. It gave the agency explicit authority to decide its scope. As ex-

plained, the Executive Order allowed the agency to create “exclusions
from the requirements of this order” “as appropriate.” Executive Order
14026, § 4(a), 86 Fed. Reg. at 22835; see pp. 12, 44-45, supra. It also made

the Department responsible for defining the “contracts” and “contract-
like instruments” subject to the mandate. Id. The agency’s exercise of this



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discretion is subject to the APA.6 And the Department’s misapprehension
of its duties and authority constitutes an additional reason to vacate the

Rule. See Teva Pharms. USA, Inc. v. FDA, 441 F.3d 1, 5 (D.C. Cir. 2006)
(“‘An order may not stand if the agency has misconceived the law.’”) (quot-
ing SEC v. Chenery Corp., 318 U.S. 80, 94 (1943)).
     2.    Next, the Department violated the APA by failing to consider
the Wage Mandate’s impact on one of the largest and most unique cate-
gories of federal government contractors: States. The Rule’s effect on

States is an “important aspect of the problem” that the Department was
required to address. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Because States are sovereign
entities and generally do not sell products or services, new costs must be
offset by tax increases or cuts to government programs. Despite these and
other distinctions between States and the Government’s private-sector
contractors, the Rule lumped States together with private-sector contrac-
tors. Elsewhere, the Rule ignored States. The Rule excluded States from
its cost estimate. The Rule estimated it would impose $1.7 billion in costs
every year on federal contractors by first estimating the number of


     6 Moreover, the Executive Order required the Department to “issue

regulations” “consistent with applicable law,” i.e., the APA. Exec. Order
No. 14026, § 3(b), 86 Fed. Reg. at 22836. “[T]he President gave no explicit
indication that he intended to ask the agencies not to comply with the
APA. Indeed, he specifically stated that agencies should comply with all
applicable law.” Natural Resources Def. Council, 683 F.2d at 765 n.24.

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employees affected. 86 Fed. Reg. at 67208-09. But in making that calcu-
lation “[t]he Department limited its analysis to employed individuals in
the private sector.” 86 Fed. Reg. at 67201.
      The Department also failed to consider States’ “extensive reliance
interest[s].” Nat’l Urban League, 977 F.3d at 778; see Encino Motorcars,

LLC v. Navarro, 579 U.S. 211, 221-22 (2016). Plaintiffs submitted decla-
rations in the district court showing that Idaho faces legislative appro-
priation limitations and must absorb new expenses because of the mini-
mum wage increase. ER-29-36. For the Idaho Department of Fish and
Game, the 33-percent increase in the minimum wage raises wages for
employees paid both more and less than $15.00 per hour. ER-32. The fed-
eral government’s failure “to offset this cost” means “a shift of funds that
were previously budgeted for operating (non-personnel) expenses.” ER-
35. Nothing in the record reflects the Department’s consideration of

States’ reliance interests. The Department violated the APA by failing to
consider the ripple effects of its policy’s shock to States.
      3.    The Department’s economy and efficiency analysis also vio-

lated the APA because it misapplied the Procurement Act and was pre-
textual. Agency action is arbitrary and capricious if the agency “has re-
lied on factors which Congress has not intended it to consider, . . . offered

an explanation for its decision that runs counter to the evidence before
the agency, or is so implausible that it could not be ascribed to a differ-
ence in view or the product of agency expertise.” State Farm, 463 U.S. at

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43. “[T]he agency must examine the relevant data and articulate a satis-
factory explanation for its action including a rational connection between
the facts found and the choice made.” Id. (internal quotation marks omit-
ted).
        First, the Department failed to support its conclusion that the

Rule’s economy and efficiency benefits outweighed its costs. The Procure-
ment Act’s “policy directive to pursue economy and efficiency implicates
numbers, measurement, and accountability and supplies a meaningful
standard against which to evaluate an agency’s exercise of discretion.”
Diebold v. United States, 947 F.2d 787, 796 (6th Cir. 1991). But see p. 31,
supra. The Department estimated average annual transfer payments of
$1.7 billion. 86 Fed. Reg. at 67194. At the same time, it recognized this
amount could “underestimate” payments because it left out “spillover
costs” in raised wages for workers already making more than $15.00 per

hour. Id. The Department did not attempt to calculate those effects even
though elsewhere it discusses Congressional Budget Office statistics es-
timating a national $15.00 minimum wage’s spillover effects. Id. at

67208.
        The Department also did not attempt a measurement of the Rule’s
benefits. Citing “uncertainty and data limitations,” the Department ad-

mitted its failure to “quantify benefits of this rulemaking.” Id. 67212. It
instead relied on “general findings from the literature” to conclude the
Rule’s benefits “will offset” its $1.7 billion annual price tag. Id. at 67204,

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67212. Even those conclusory statements are contradicted by the De-
partment’s suggestion, elsewhere in its findings, that the benefits of the
Rule would only “substantially”—not entirely—“offset” its “adverse eco-
nomic effects.” Id. at 67149, 67153. The Department’s conclusion that the
Rule’s amorphous and unquantified benefits would make up for the more

than tripling of transfer payments from the Obama Administration min-
imum wage is “so implausible that it could not be ascribed to a difference
in view or the product of agency expertise.” State Farm, 463 U.S. at 43.
     Second, the Department relied on the wrong criteria in determining
that the Rule promotes economy and efficiency. The Rule must “provide
the Federal Government with an economical and efficient system for . . .
[p]rocuring and supplying property and nonpersonal services, and . . .
contracting.” 40 U.S.C. § 101(1). But in determining that the Rule’s ben-
efits exceeded its costs, the Department relied on numerous benefits that

have nothing to do with procurement. While the Obama Rule limited its
benefits to “reduced absenteeism and turnover in the workplace, im-
proved employee morale and productivity, reduced supervisory costs, and

increased quality of government services,” 79 Fed. Reg. at 60699, the
Biden Administration supplemented this list. The Department concluded
that in addition to the Obama Administration benefits, “increased eq-

uity[] and reduced poverty and income inequality for Federal contract
workers” factored into the benefit analysis. 86 Fed. Reg. at 67212. Equity,
poverty reduction, and income equality are social policy objectives. They

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do not bear on the economy and efficiency of government procurement
and should not have been considered. Even if the Department was justi-
fied in failing to quantify the Rule’s benefits, it must subtract these social
benefits and reconsider whether the Rule’s actual economy and efficiency
benefits offset its costs.

      Third, the Department’s economy and efficiency conclusions are
pretextual. The APA requires agencies to “offer genuine justifications for
important decisions, reasons that can be scrutinized by courts and the
interested public.” Department of Commerce v. New York, 139 S. Ct. 2551,
2575-76 (2019). Department of Commerce vacated the Secretary of Com-
merce’s decision to add a citizenship question to the decennial census
questionnaire because the Secretary’s justification was pretextual. Id.
The Secretary cited a desire to help the Department of Justice improve
enforcement of the Voting Rights Act, but “the evidence t[old] a story that

d[id] not match [that] explanation.” Id. at 2575. The Department of Com-
merce had elicited the Department of Justice’s request for help and made
up its mind before receiving the request. Id. Those facts led the Court to

conclude the agency’s justification “seems to have been contrived.” Id.;
see also Kentucky, 23 F.4th at 609 n.15 (concluding vaccine mandate was
pretextual); Woods Petroleum Corp. v. U.S. Dept. of Interior, 18 F.3d 854,

859 (10th Cir. 1994) (“obvious that the sole reason behind” agency action
“was to provide a pretext for [an] ulterior motive”).



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      Like Department of Commerce, the justification offered for the
Wage Mandate is subterfuge. President Biden promised a national
$15.00 minimum wage as a candidate and failed to win Congress’s sup-
port for that change. See pp. 6-7, supra. He issued the Wage Mandate
Executive Order shortly after this failure as a partial end-run around

Congress’s judgment. President Biden even confirmed the Administra-
tion’s true reasons for the policy when he described the Wage Mandate
as “a down payment” on his campaign “pledge.” Statement by President
Biden (Jan. 28, 2022), https://tinyurl.com/e3wf8s2f. This Court should
not “ignore the disconnect between the decision made and the explana-
tion given.” Department of Commerce, 139 S. Ct. at 2576. The Depart-
ment justified its rule with impermissible “contrived reason[s]” in viola-
tion of the APA. Id.

IV. Plaintiffs Are Entitled To A Preliminary Injunction.
      In addition to showing a likelihood of success on the merits, Plain-
tiffs have satisfied the other elements for a preliminary injunction. A pre-
liminary injunction requires a showing that (1) the plaintiff is likely to

prevail on the merits of its substantive claims, (2) the plaintiff is likely to
suffer imminent, irreparable harm absent an injunction, (3) the balance
of equities favors an injunction, and (4) an injunction is in the public in-
terest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). This
Court “evaluate[s] these factors via a sliding scale approach, such that
serious questions going to the merits and a balance of hardships that tips

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sharply towards the plaintiff can support issuance of a preliminary in-
junction, so long as the plaintiff also shows that there is a likelihood of
irreparable injury and that the injunction is in the public interest.” Arc
of Cal. v. Douglas, 757 F.3d 975, 983 (9th Cir. 2014) (internal quotation
marks omitted).

     The district court did not consider Plaintiffs’ entitlement to a pre-
liminary injunction after concluding that Plaintiffs claims should be dis-
missed. Nevertheless, all four elements are met, and this Court should
instruct the district court to enter a preliminary injunction on remand.
See, e.g., Taylor v. Westly, 488 F.3d 1197, 1201 (9th Cir. 2007); Cottrell,
632 F.3d at 1131, 1135-39. Applying the same test, a motions panel of the
Tenth Circuit entered an injunction pending appeal for different plain-
tiffs challenging the Wage Mandate. Bradford v. U.S. Dep’t of Labor, No.
22-1023, Doc. 010110646538 (10th Cir. Feb. 17, 2022).

     A.    Plaintiffs will suffer irreparable harm absent an injunction.
Economic harm is irreparable when a plaintiff cannot seek compensatory
damages. See E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 677 (9th

Cir. 2021); see also Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559
F.3d 1046, 1058 (9th Cir. 2009) (A “constitutional violation alone, coupled
with the damages incurred, can suffice to show irreparable harm.”). “[A]

regulation later held invalid almost always produces the irreparable
harm of nonrecoverable compliance costs.” Thunder Basin Coal Co. v.



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Reich, 510 U.S. 200, 220-21 (1994) (Scalia, J., concurring) (emphasis in
original).
      Plaintiffs cannot seek damages for the economic harm that they
suffer because of the Wage Mandate. The Wage Mandate places States
in a “Hobson’s choice” between giving up contracts with the government

or “incur[ring] large costs” by paying their employees higher wages. Am.
Trucking Associations, 559 F.3d at 1057, 1058. The district court recog-
nized Plaintiffs’ dilemma in its standing analysis. ER-10. Plaintiffs
showed that Idaho’s state fisheries were offsetting the more than
$800,000 financial impact of the Wage Mandate by reducing operating
expenses. ER-35. Such expenses are not recoverable in this litigation and
therefore irreparable.
      Nor can Plaintiffs recover the damages they suffer in the form of
lower tax revenues and higher enrollment in their unemployment insur-

ance programs. The district court recognized both injuries, ER-10, and
the Wage Mandate Rule acknowledged research showing that a $15.00
minimum wage will result in job losses. See 86 Fed. Reg. 67212 (discuss-

ing Congressional Budget Office estimate). Finally, Plaintiffs suffer ir-
reparable injuries to their sovereignty because the Wage Mandate over-
takes the minimum wages required by their laws. See ER-87; see also ER-

33, 10; ER-85. A state’s “inability to enforce its duly enacted plans clearly
inflicts irreparable harm on the State.” Abbott v. Perez, 138 S. Ct. 2305,



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2324 n.17 (2018); see also Maryland v. King, 567 U.S. 1301, 1303 (2012)
(Roberts, C.J., in chambers).
     B.    The balance of the equities and public interest also favor an
injunction. These factors merge where the government is a party. See
California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018). “[T]here is a sub-

stantial public interest in having governmental agencies abide by the fed-
eral laws that govern their existence and operations.” League of Women
Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal quota-
tion marks omitted). This Court has recognized public interests in both
vindicating Congress’s statutory intent and adhering to the Constitution.
See Am. Trucking Ass’ns, 559 F.3d at 1059-60; see also Azar, 911 F.3d at
581 (“The public interest is served by compliance with the APA.”).
     As explained, the Wage Mandate exceeds the Procurement Act’s au-
thority and violates the Constitution and the APA. An injunction will en-

sure the public can contract with the federal government free from illegal
restraints. And it will likely reduce contracting costs for both Plaintiffs
and Defendants. See 86 Fed. Reg. at 67152, 67206, 67212. An injunction

will encourage lower unemployment, more contractor output, and less
state government spending on personnel costs. See 86 Fed. Reg. at 67212;
ER-87-89. Because the public interest and balance of the equities support

immediate relief, this Court should direct the district court to enter a
preliminary injunction.



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                               C ONCLUSION
     The Court should vacate the district court’s order dismissing Plain-

tiffs’ claims and order the district court to enter a preliminary injunction
against Defendants’ enforcement of the Wage Mandate.

                                       Respectfully submitted.

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               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

 Form 17. Statement of Related Cases Pursuant to Circuit Rule
                            28-2.6


9th Cir. Case Number(s) No. 23-15179


The undersigned attorney or self-represented party states the following:

[X] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court
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[ ] I am aware of one or more related cases currently pending in this
    court. The case number and name of each related case and its rela-
    tionship to this case are:

Signature s/ Eric Hamilton           Date June 20, 2023




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               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

            Form 8. Certificate of Compliance for Briefs


9th Cir. Case Number(s) No. 23-15179

      I am the attorney or self-represented party.

      This brief contains 13,394 words, excluding the items exempted

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[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R.
   32-2(a).


Signature     s/ Eric Hamilton           Date June 20, 2023




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                               40 U.S.C. § 101

The purpose of this subtitle is to provide the Federal Government with
an economical and efficient system for the following activities:

   (1) Procuring and supplying property and nonpersonal services, and
   performing related functions including contracting, inspection, stor-
   age, issue, setting specifications, identification and classification,
   transportation and traffic management, establishment of pools or
   systems for transportation of Government personnel and property by
   motor vehicle within specific areas, management of public utility ser-
   vices, repairing and converting, establishment of inventory levels, es-
   tablishment of forms and procedures, and representation before fed-
   eral and state regulatory bodies.

   (2) Using available property.

   (3) Disposing of surplus property.

   (4) Records management.




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                               40 U.S.C. § 121

    (a) POLICIES PRESCRIBED BY THE PRESIDENT.— The President may pre-
scribe policies and directives that the President considers necessary to
carry out this subtitle. The policies must be consistent with this subtitle.

   (b) ACCOUNTING PRINCIPLES AND STANDARDS.—

       (1) PRESCRIPTION.— The Comptroller General, after considering
   the needs and requirements of executive agencies, shall prescribe
   principles and standards of accounting for property.

      (2) PROPERTY ACCOUNTING SYSTEMS.— The Comptroller General
   shall cooperate with the Administrator of General Services and with
   executive agencies in the development of property accounting sys-
   tems and approve the systems when they are adequate and in con-
   formity with prescribed principles and standards.

       (3) COMPLIANCE REVIEW.— From time to time the Comptroller
   General shall examine the property accounting systems established
   by executive agencies to determine the extent of compliance with pre-
   scribed principles and standards and approved systems. The Comp-
   troller General shall report to Congress any failure to comply with
   the principles and standards or to adequately account for property.

   (c) REGULATIONS BY ADMINISTRATOR.—

       (1) GENERAL AUTHORITY.— The Administrator may prescribe reg-
   ulations to carry out this subtitle.

       (2) REQUIRED REGULATIONS AND ORDERS.— The Administrator
   shall prescribe regulations that the Administrator considers neces-
   sary to carry out the Administrator’s functions under this subtitle
   and the head of each executive agency shall issue orders and direc-
   tives that the agency head considers necessary to carry out the regu-
   lations.

   (d) DELEGATION OF AUTHORITY BY ADMINISTRATOR.—


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    (1) IN GENERAL.— Except as provided in paragraph (2), the Ad-
ministrator may delegate authority conferred on the Administrator
by this subtitle to an official in the General Services Administration
or to the head of another federal agency. The Administrator may au-
thorize successive redelegation of authority conferred by this subtitle.

   (2) EXCEPTIONS.— The Administrator may not delegate—

      (A) the authority to prescribe regulations on matters of policy
   applying to executive agencies;

      (B) the authority to transfer functions and related allocated
   amounts from one component of the Administration to another
   under paragraphs (1)(C) and (2)(A) of subsection (e); or

      (C) other authority for which delegation is prohibited by this
   subtitle.

    (3) RETENTION AND USE OF RENTAL PAYMENTS.— A department or
agency to which the Administrator has delegated authority to oper-
ate, maintain or repair a building or facility under this subsection
shall retain the portion of the rental payment that the Administrator
determines is available to operate, maintain or repair the building or
facility. The department or agency shall directly expend the retained
amounts to operate, maintain, or repair the building or facility. Any
amounts retained under this paragraph shall remain available until
expended for these purposes.

(e) ASSIGNMENT OF FUNCTIONS BY ADMINISTRATOR.—

    (1) IN GENERAL.— The Administrator may provide for the perfor-
mance of a function assigned under this subtitle by any of the follow-
ing methods:

      (A) The Administrator may direct the Administration to per-
   form the function.



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     (B) The Administrator may designate or establish a compo-
 nent of the Administration and direct the component to perform
 the function.

    (C) The Administrator may transfer the function from one
 component of the Administration to another.

     (D) The Administrator may direct an executive agency to per-
 form the function for itself, with the consent of the agency or by
 direction of the President.

     (E) The Administrator may direct one executive agency to per-
 form the function for another executive agency, with the consent
 of the agencies concerned or by direction of the President.

     (F) The Administrator may provide for performance of a func-
 tion by a combination of the methods described in this paragraph.

 (2) TRANSFER OF RESOURCES.—

     (A) Within administration.— If the Administrator transfers a
 function from one component of the Administration to another,
 the Administrator may also provide for the transfer of appropri-
 ate allocated amounts from the component that previously carried
 out the function to the component being directed to carry out the
 function. A transfer under this subparagraph must be reported to
 the Director of the Office of Management and Budget.

     (B) Between agencies.— If the Administrator transfers a func-
 tion from one executive agency to another (including a transfer to
 or from the Administration), the Administrator may also provide
 for the transfer of appropriate personnel, records, property, and
 allocated amounts from the executive agency that previously car-
 ried out the function to the executive agency being directed to
 carry out the function. A transfer under this subparagraph is sub-
 ject to approval by the Director.




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    (f) ADVISORY COMMITTEES.— The Administrator may establish advi-
sory committees to provide advice on any function of the Administrator
under this subtitle. Members of the advisory committees shall serve with-
out compensation but are entitled to transportation and not more than
$25 a day instead of expenses under section 5703 of title 5.

   (g) CONSULTATION WITH FEDERAL AGENCIES.— The Administrator
shall advise and consult with interested federal agencies and seek their
advice and assistance to accomplish the purposes of this subtitle.

    (h) ADMINISTERING OATHS.— In carrying out investigative duties, an
officer or employee of the Administration, if authorized by the Adminis-
trator, may administer an oath to an individual.




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          Exec. Order No. 14026, 86 Fed. Reg. 22835 (2021)

   Increasing the Minimum Wage for Federal Contractors

      By the authority vested in me as President by the Constitution and
the laws of the United States of America, including the Federal Property
and Administrative Services Act, 40 U.S.C. 101 et seq., and in order to
promote economy and efficiency in procurement by contracting with
sources that adequately compensate their workers, it is hereby ordered
as follows:

Section 1. Policy. This order promotes economy and efficiency in Federal
procurement by increasing the hourly minimum wage paid by the parties
that contract with the Federal Government to $15.00 for those workers
working on or in connection with a Federal Government contract as de-
scribed in section 8 of this order. Raising the minimum wage enhances
worker productivity and generates higher-quality work by boosting work-
ers' health, morale, and effort; reducing absenteeism and turnover; and
lowering supervisory and training costs. Accordingly, ensuring that Fed-
eral contractors pay their workers an hourly wage of at least $15.00 will
bolster economy and efficiency in Federal procurement.

Sec. 2. Increasing the Minimum Wage for Federal Contractors and Sub-
contractors. (a) Executive departments and agencies, including independ-
ent establishments subject to the Federal Property and Administrative
Services Act, 40 U.S.C. 102(4)(A), (5) (agencies), shall, to the extent per-
mitted by law, ensure that contracts and contract-like instruments (as
defined in regulations issued pursuant to section 4(a) of this order and as
described in section 8(a) of this order) include a clause that the contractor
and any covered subcontractors (as defined in regulations issued pursu-
ant to section 4(a) of this order) shall incorporate into lower-tier subcon-
tracts. This clause shall specify that, as a condition of payment, the min-
imum wage to be paid to workers employed in the performance of the
contract or any covered subcontract thereunder, including workers whose
wages are calculated pursuant to special certificates issued under section
14(c) of the Fair Labor Standards Act of 1938 (29 U.S.C. 214(c)), shall be
at least:



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       (i) $15.00 per hour, beginning January 30, 2022; and

      (ii) beginning January 1, 2023, and annually thereafter, an
   amount determined by the Secretary of Labor (Secretary). The
   amount shall be published by the Secretary at least 90 days before
   such new minimum wage is to take effect and shall be:

          (A) not less than the amount in effect on the date of such de-
       termination;

           (B) increased from such amount by the annual percentage in-
       crease in the Consumer Price Index for Urban Wage Earners and
       Clerical Workers (United States city average, all items, not sea-
       sonally adjusted), or its successor publication, as determined by
       the Bureau of Labor Statistics; and

           (C) rounded to the nearest multiple of $0.05.

    (b) In calculating the annual percentage increase in the Consumer
Price Index for purposes of subsection (a)(ii)(B) of this section, the Sec-
retary shall compare such Consumer Price Index for the most recent
month, quarter, or year available (as selected by the Secretary prior to
the first year for which a minimum wage is in effect pursuant to subsec-
tion (a)(ii)(B) of this section) with the Consumer Price Index for the
same month in the preceding year, the same quarter in the preceding
year, or the preceding year, respectively.

   (c) Nothing in this order shall excuse noncompliance with any appli-
cable Federal or State prevailing wage law, or any applicable law or
municipal ordinance establishing a minimum wage higher than the
minimum wage established under this order.

Sec. 3. Application to Tipped Workers. (a) For workers covered under
section 2 of this order who are tipped employees pursuant to section 3(t)
of the Fair Labor Standards Act of 1938 (29 U.S.C. 203(t)), the cash
wage that must be paid by an employer to such workers shall be at
least:



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   (i) $10.50 per hour, beginning January 30, 2022;

   (ii) beginning January 1, 2023, 85 percent of the wage in effect un-
   der section 2 of this order, rounded to the nearest multiple of $0.05;
   and

   (iii) beginning January 1, 2024, and for each subsequent year, 100
   percent of the wage in effect under section 2 of this order.

    (b) Where workers do not receive a sufficient additional amount on
account of tips, when combined with the hourly cash wage paid by the
employer, such that their wages are equal to the minimum wage under
section 2 of this order, the cash wage paid by the employer, as set forth
in this section for those workers, shall be increased such that their
wages equal the minimum wage under section 2 of this order. Con-
sistent with applicable law, if the wage required to be paid under the
Service Contract Act, 41 U.S.C. 6701 et seq., or any other applicable law
or regulation is higher than the wage required under section 2 of this
order, the employer shall pay additional cash wages sufficient to meet
the highest wage required to be paid.

Sec. 4. Regulations and Implementation. (a) The Secretary shall, con-
sistent with applicable law, issue regulations by November 24, 2021, to
implement the requirements of this order. Such regulations shall in-
clude both definitions of relevant terms and, as appropriate, exclusions
from the requirements of this order. Within 60 days of the Secretary is-
suing such regulations, the Federal Acquisition Regulatory Council, to
the extent permitted by law, shall amend the Federal Acquisition Regu-
lation to provide for inclusion in Federal procurement solicitations, con-
tracts, and contract-like instruments subject to this order the clause de-
scribed in section 2(a) of this order.

    (b) Within 60 days of the Secretary issuing regulations pursuant to
subsection (a) of this section, agencies shall take steps, to the extent
permitted by law, to exercise any applicable authority to ensure that
contracts and contract-like instruments as described in sections
8(a)(i)(C) and (D) of this order, entered into on or after January 30,



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2022, consistent with the effective date of such agency action, comply
with the requirements set forth in sections 2 and 3 of this order.

    (c) Any regulations issued pursuant to this section should, to the ex-
tent practicable, incorporate existing definitions, principles, procedures,
remedies, and enforcement processes under the Fair Labor Standards
Act of 1938, 29 U.S.C. 201 et seq.; the Service Contract Act, 41 U.S.C.
6701 et seq.; the Davis-Bacon Act, 40 U.S.C. 3141 et seq.; Executive Or-
der 13658 of February 12, 2014 (Establishing a Minimum Wage for
Contractors); and regulations issued to implement that order.

Sec. 5. Enforcement. (a) The Secretary shall have the authority for in-
vestigating potential violations of and obtaining compliance with this
order.

    (b) This order creates no rights under the Contract Disputes Act, 41
U.S.C. 7101 et seq., and disputes regarding whether a contractor has
paid the wages prescribed by this order, as appropriate and consistent
with applicable law, shall be disposed of only as provided by the Secre-
tary in regulations issued pursuant to this order.

Sec. 6. Revocation of Certain Presidential Actions. Executive Order
13838 of May 25, 2018 (Exemption From Executive Order 13658 for
Recreational Services on Federal Lands), is revoked as of January 30,
2022. Executive Order 13658 of February 12, 2014 (Establishing a Mini-
mum Wage for Contractors), is superseded, as of January 30, 2022, to
the extent it is inconsistent with this order.

Sec. 7. Severability. If any provision of this order, or the application of
any provision of this order to any person or circumstance, is held to be
invalid, the remainder of this order and its application to any other per-
son or circumstance shall not be affected thereby.

Sec. 8. Applicability. (a) This order shall apply to any new contract;
new contract-like instrument; new solicitation; extension or renewal of
an existing contract or contract-like instrument; and exercise of an op-
tion on an existing contract or contract-like instrument, if (i):



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       (A) it is a procurement contract or contract-like instrument for
   services or construction;

      (B) it is a contract or contract-like instrument for services cov-
   ered by the Service Contract Act;

       (C) it is a contract or contract-like instrument for concessions,
   including any concessions contract excluded by Department of Labor
   regulations at 29 CFR 4.133(b); or

       (D) it is a contract or contract-like instrument entered into with
   the Federal Government in connection with Federal property or
   lands and related to offering services for Federal employees, their
   dependents, or the general public; and

   (ii) the wages of workers under such contract or contract-like instru-
   ment are governed by the Fair Labor Standards Act, the Service
   Contract Act, or the Davis-Bacon Act.

    (b) For contracts or contract-like instruments covered by the Service
Contract Act or the Davis-Bacon Act, this order shall apply only to con-
tracts or contract-like instruments at the thresholds specified in those
statutes. Where workers’ wages are governed by the Fair Labor Stand-
ards Act of 1938, this order shall apply only to procurement contracts or
contract- like instruments that exceed the micro-purchase threshold, as
defined in 41 U.S.C. 1902(a), unless expressly made subject to this or-
der pursuant to regulations or actions taken under section 4 of this or-
der.

    (c) This order shall not apply to grants; contracts, contract-like in-
struments, or agreements with Indian Tribes under the Indian Self-De-
termination and Education Assistance Act (Public Law 93–638), as
amended; or any contracts or contract-like instruments expressly ex-
cluded by the regulations issued pursuant to section 4(a) of this order.

Sec. 9. Effective Date. (a) This order is effective immediately and shall
apply to new contracts; new contract-like instruments; new solicita-
tions; extensions or renewals of existing contracts or contract-like


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instruments; and exercises of options on existing contracts or contract-
like instruments, as described in section 8(a) in this order, where the
relevant contract or contract-like instrument will be entered into, the
relevant contract or contract- like instrument will be extended or re-
newed, or the relevant option will be exercised, on or after:

   (i) January 30, 2022, consistent with the effective date for the action
   taken by the Federal Acquisition Regulatory Council pursuant to
   section 4(a) of this order; or

   (ii) for contracts where an agency action is taken pursuant to section
   4(b) of this order, January 30, 2022, consistent with the effective
   date for such action.

    (b) As an exception to subsection (a) of this section, where agencies
have issued a solicitation before the effective date for the relevant ac-
tion taken pursuant to section 4 of this order and entered into a new
contract or contract-like instrument resulting from such solicitation
within 60 days of such effective date, such agencies are strongly encour-
aged but not required to ensure that the minimum wages specified in
sections 2 and 3 of this order are paid in the new contract or contract-
like instrument. But if that contract or contract-like instrument is sub-
sequently extended or renewed, or an option is subsequently exercised
under that contract or contract- like instrument, the minimum wages
specified in sections 2 and 3 of this order shall apply to that extension,
renewal, or option.

    (c) For all existing contracts and contract-like instruments, solicita-
tions issued between the date of this order and the effective dates set
forth in this section, and contracts and contract-like instruments en-
tered into between the date of this order and the effective dates set
forth in this section, agencies are strongly encouraged, to the extent
permitted by law, to ensure that the hourly wages paid under such con-
tracts or contract- like instruments are consistent with the minimum
wages specified in sections 2 and 3 of this order.

Sec. 10. General Provisions. (a) Nothing in this order shall be construed
to impair or otherwise affect:


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   (i) the authority granted by law to an executive department or
   agency, or the head thereof; or

   (ii) the functions of the Director of the Office of Management and
   Budget relating to budgetary, administrative, or legislative pro-
   posals.

   (b) This order shall be implemented consistent with applicable law
and subject to the availability of appropriations.

(c) This order is not intended to, and does not, create any right or benefit,
substantive or procedural, enforceable at law or in equity by any party
against the United States, its departments, agencies, or entities, its offic-
ers, employees, or agents, or any other person.




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